                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF MISSOURI

EQUAL EMPLOYMENT                           )
OPPORTUNITY COMMISSION                     )
        Plaintiff,                         )
                                           )
v.                                         )      CASE NO. 4:17-cv-809-HFS
                                           )
KESSINGER HUNTER                           )
MANAGEMENT COMPANY, INC.                   )
                                           )
             Defendant                     )

                                  CONSENT DECREE

       Plaintiff Equal Employment Opportunity Commission has instituted this action

alleging that Defendant Kessinger/Hunter Management, Inc. (“KHMI”) discriminated

against Richard Shipe (“Shipe”) because of his disability when it failed to provide him

reasonable accommodation and terminated him because of his disability in violation of

the Americans with Disabilities Act of 1990 (“ADA”). KHMI denies any liability under

the ADA and specifically denies: (1) that Shipe was disabled; (2) that Shipe was

discriminated against in any way; and (3) that KHMI failed to provide Shipe with a

reasonable accommodation. The parties have advised the Court that they wish to resolve

this suit without the expense, delay, and burden of further litigation.

       It is the finding of this Court, made on the pleadings and on the record as a whole

and upon agreement of the parties, that: (i) this Court has jurisdiction over the parties and

the subject matter of this action, (ii) the requirements of the ADA will be carried out by

the implementation of this Decree, (iii) this Decree is intended to and does resolve all




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matters in controversy in this lawsuit, and (iv) the terms of this Decree constitute a fair,

reasonable, and equitable settlement and are not contrary to law.

       IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED as follows:

I.     INJUNCTION

       1.     KHMI and its owners, members, officers, directors, agents, employees,

successors, and assigns, and all persons in active concert or participation with them, are

permanently enjoined from terminating its employees because of a disability and from

failing to make reasonable accommodation to the known physical or mental limitations of

otherwise qualified applicants or employees with disabilities, including, but not limited

to, diabetes. See 29 C.F.R. § 1630.2 (j)(3)(iii).

II.    MONETARY RELIEF

       2.     In the event of non-payment, it is acknowledged that this judgment is a debt

owed to and collectible by the EEOC or its proxy, notwithstanding that Richard Shipe is

the ultimate beneficiary of this relief.

       3.     The receipt of monetary relief by Richard Shipe shall not be conditioned on

his agreement to: (a) maintain as confidential the facts and/or allegations underlying this

case or the terms of this Decree; (b) waive his statutory right to file a charge with any

governmental agency; (c) refrain from applying for employment with Kessinger Hunter;

(d) agree to a non-disparagement agreement; (e) execute a general release of all claims;

or (f) any other terms or conditions not explicitly stated in this Decree.




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       4.     Upon entry of this Decree, the EEOC will provide to KHMI a signed copy

of the release set forth as Exhibit 1.

       5.     Within fifteen (15) days of entry of this Decree, KHMI shall pay the gross

sum of $50,000.00 to Richard Shipe by check and send by certified mail to an address

provided by the EEOC, with $35,000.00 designated as back pay and $15,000.00

designated as emotional distress damages, and with an itemized statement setting forth

each amount paid and any deductions made.

       6.     KHMI shall deduct only the employee’s share of FUTA, FICA, and

applicable federal, state, and local tax withholdings, taxes for the tax year during which

the payment is made from the amount designated as back pay and shall make no

deductions from the amount designated as compensatory damages.

       7.     Within five (5) business days of making the payment required by paragraph

5 above, KHMI will furnish a copy of each check, itemized statement, and any

accompanying correspondence to the EEOC at SLDOdecreemonitoring@eeoc.gov.

       8.     No later than January 31, 2019, KHMI will issue to Richard Shipe an IRS

Form W-2 for the amount designated as back pay (less applicable deductions) and an IRS

Form 1099 for the amount designated as compensatory damages.

III.   OTHER RELIEF

       A.     Human Resources Director

       9.       KHMI’s Human Resources Director shall:




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    a.    receive additional training on the ADA and accommodation issues

          from an outside reputable source on or before December 31, 2018;

    b.    develop, implement, and monitor KHMI’s policies and practices to

          ensure compliance with the ADA, including a provision of

          reasonable accommodations to the known physical and mental

          limitations of otherwise qualified employees or applicants with

          disabilities;

    c.    review all denials of accommodations to the known physical and

          mental limitations of otherwise qualified employees or applicants

          with disabilities and assess whether such denials are in compliance

          with the ADA;

    d.    be the final authority within KHMI on ADA accommodation

          denials;

    e.    ensure that no accommodation request is denied without KHMI

          initiating an interactive process with the individual with a disability

          to identify the precise limitations resulting from the disability and

          potential reasonable accommodations that could overcome those

          limitations;

    f.    ensure that no accommodation request is denied without referring to

          outside resources, such as the Job Accommodation Network, that

          might make reasonable accommodation possible;



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             g.     document information related to all denials of accommodation

                    requests, including the requestor’s identifying information, the

                    nature of the request, and the reason(s) for the denial; and

             h.     communicate to the requestor orally, in person, and/or in writing

                    (email is acceptable) the reason(s) for any denial of an

                    accommodation request.

      10.    Within twenty (20) days of the adoption of the ADA policy in paragraph

11, KHMI’s Human Resources Director shall issue a statement to all employees

announcing the Human Resource Director’s ADA duties and role, and expressing the

company’s full support of the Americans with Disabilities Act and employees’ requests

for reasonable accommodations.

      B.     Policies

      11.    Within thirty (30) days of entry of this Decree, KHMI shall adopt a written

ADA policy which includes, at a minimum:

             a.     A strong and clear commitment to a workplace free of discrimination

                    based on disability;

             b.     A statement that all employees and applicants with disabilities may

                    request an accommodation;

             c.     A clear and easy procedure for employees and applicants to follow

                    when requesting accommodation;




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             d.     A clear procedure for supervisory, management, and human

                    resources personnel to follow when receiving requests for

                    accommodation;

             e.     To whom (by name and title) employees should make any request for

                    an accommodation;

             f.     A statement that reasonable accommodations are provided to

                    employees without respect to where or how the employee became

                    disabled (including whether the employee was injured at work);

             g.     A statement that employees are not required to provide a “full

                    release” from their medical provider in order to return to work,

                    though KHMI may request documentation from a medical provider

                    to specify medical restrictions or for other purposes allowed by law;

             h.     Assurance that the company will not retaliate against any employee

                    who seeks an accommodation under the policy and will not interfere

                    with any employee’s rights under the ADA, including the right to

                    reasonable accommodation.

      12.    Within twenty (20) days of the adoption of the ADA policy described in

paragraph 11 above, KHMI shall direct all employees to the location of the new policy on

its electronic system and provide a copy to the EEOC at

SLDOdecreemonitoring@eeoc.gov.




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      C.       Training

      13.      On or before February 28, 2019 and annually during the term of this

Decree, KHMI shall require all human resources staff, supervisors, and managers to

attend approximately two hours of live, in-person training regarding ADA compliance

and KHMI’s ADA and reasonable accommodation policy. The training shall cover, at a

minimum:

            a) Overview and scope of the ADA;

            b) Definition of a disability;

            c) Understanding essential job functions and reasonable accommodations;

            d) Drug and alcohol protections; and

            e) KHMI’s specific policies and procedures pertaining to the ADA;

            f) The supervisor’s role in:

                  i.   implementing KHMI’s ADA policy and ensuring compliance with

                       the ADA;

                 ii.   in receiving requests for reasonable accommodation and otherwise

                       offering reasonable accommodation when they become aware of

                       physical or mental limitations of otherwise qualified employees or

                       applicants with disabilities;

                iii.   guidance regarding how to understand, evaluate, and comply with

                       KHMI’s obligation to provide leave, as necessary, under the ADA,

                       the FMLA, and applicable state and local laws;



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            iv.          guidance regarding how to understand, evaluate, and comply with

                         KHMI’s obligation to provide reasonable accommodation to the

                         known physical or mental limitations of otherwise qualified

                         employees, including, where applicable, “light duty” work,

                         independent of KHMI’s practice of providing “light duty” work to

                         employees injured on the job.

      14.     On or before February 28, 2019 and annually during the term of this

Decree, KHMI shall require all employees to attend one of multiple training sessions

during which KHMI will explain its ADA policies and procedures. The training shall

cover, at a minimum:

      a.          An explanation of the ADA policy described in paragraph 11 above;

      b.          An explanation of the role of Human Resources Director;

      c.          An explanation of employees’ right to receive, and KHMI’s obligation to

                  provide, reasonable accommodation to the known physical or mental

                  limitations of otherwise qualified individuals with disabilities;

      d.          A description of the different types of accommodation that may be

                  available, including but not limited to job restructuring, part-time or

                  modified work schedules, leave; reassignment, and modifications of

                  equipment or devices;




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       e.     An explanation of the difference between leave under the FMLA, leave

              provided as an accommodation under the ADA, and leave granted to

              employees injured on the job;

       f.     An explanation of the processes by which employees may request

              reasonable accommodation, including the names and job titles of persons to

              whom such requests should be directed.

        15.   KHMI shall require all employees attending the training sessions described

in paragraphs 13 and 14 above to sign a roster certifying their attendance at the training,

including each attendee’s printed name, job title, job location, and the date of the training.

       16.    Within thirty (30) days after each training required in this Decree, KHMI

will submit a copy of the signed attendance roster to SLDOdecreemonitoring@eeoc.gov

and the name and address of the person who provided the training, and a list of any

employees who did not attend. Any employee who has not attended annual training will

receive copies of written materials explaining all the topics included in the training.

       17.    At least fifteen (15) days prior to the training sessions described in

paragraphs 13 and 14 above, Kessinger Hunter shall provide to the EEOC the name and

curriculum vitae, biography, online profile, or resume of the person(s) providing the

training, and copies of all materials and presentations to be used and / or distributed as

part of the training sessions. The materials submitted to the EEOC will be reviewed by

the EEOC to ensure compliance that the topics contained in paragraphs 13 and 14 above

are contained in such materials. Should the EEOC believe that a topic is missing, the



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EEOC will contact KHMI or its authorized representative to address the issue for future

training presentations.

       D.     Notice Posting

       18.    Within fifteen (15) days of entry of this Decree and annually during its

term, KHMI’s CEO shall sign the Notice attached as Exhibit 2, and KHMI shall post

copies of the signed notice at every KHMI work site in a physical area readily accessible

to employees and job applicants and where other employee notices are posted.

IV.    REPORTING AND MONITORING

       19.    KHMI shall send all reports required by this Decree to the EEOC by email

at SLDOdecreemonitoring@eeoc.gov.

       20.    Within one hundred eighty (180) days of entry of this Decree and every six

(6) months thereafter, KHMI shall send the EEOC a list of all employees discharged

during the preceding six months who KHMI terminated for failing to return to work

following a medical leave of absence or whose discharge was in lieu of KHMI providing

an accommodation, and all documents reflecting the discharge and/or request for an

accommodation and why an accommodation was not granted. Provided, however, KHMI

is not required to provide the EEOC with documents protected by the attorney-client

privilege or work-product doctrine. For each employee listed, KHMI shall state the

person’s name; last four digits of social security number; job title; job location;

description of the employee’s physical or mental limitation precipitating the leave of

absence; description of the accommodation(s) requested and/or proposed; name(s) of all



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supervisors, managers, or other employees involved in the accommodation and/or

discharge decision; and date of discharge.

       21.    Within one hundred eighty (180) days of entry of this Decree and every six

months thereafter, KHMI shall send the EEOC a list of all employees who have

complained of discrimination on the basis of disability in the previous six months and all

documents reflecting each complaint and KHMI response and/or investigation. For each

employee listed, KHMI shall state the person’s name; last four digits of social security

number; job title; job location; description and date of the employee’s complaint,

including the names of all other employees involved; description of KHMI’s response to

the complaint and any actions taken; and the name(s) of all supervisors, managers, or

other employees involved in the complaint. Provided, however, KHMI is not required to

provide the EEOC with documents protected by attorney-client privilege or work-product

doctrine.

       22.    Kessinger Hunter shall maintain such records as are necessary to

demonstrate compliance with the provisions of this Decree, specifically as required in

paragraphs 9-18 above, and to verify the reports submitted. During the term of this

Decree and upon request by the EEOC, Kessinger Hunter shall make available for

inspection and copying any records related to compliance with this Decree, including but

not limited to records related to accommodation requests and complaints of disability

discrimination. Any requests for records shall specifically identify the records that are

being requested.



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V.     DISPUTE RESOLUTION


       23.     If any party to this Consent Decree believes that any other party has failed

to comply with any provision of this Decree, the complaining party shall notify the other

party within thirty (30) business days of the alleged non-compliance and shall afford the

alleged non-compliant party thirty (30) business days to address the non-compliance or to

satisfy the complaining party that the alleged non-compliant party has complied. If the

alleged non-compliant party has not addressed the alleged non-compliance to the

satisfaction of the complaining party within thirty (30) business days, the complaining

party may apply for appropriate relief to the U.S. District Court for the Western District

of Missouri.

V.     TERM AND EFFECT OF DECREE

       24.     A copy of this Consent Decree shall be provided to KHMI’s present and

future owners, directors, members, officers, managers, agents, successors and assigns,

and any successor(s) shall provide a copy of this Decree to any person or organization

who proposes to acquire or merge with it or any proposed successor, prior to any such

acquisition, merger, or succession.

       25.     The term of this Decree shall end three (3) years after the date it is entered

by the Court. During the Decree’s term, the Court shall retain jurisdiction of this case for

purposes of enforcing the terms of this Decree.

        26.    At any time during the term of this Decree, the EEOC may petition this

Court to enforce any term of this Decree. Should the EEOC determine that KHMI has not


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substantially complied with any term of this Decree, the Court shall grant appropriate

relief.

          27.   Each party shall bear its own costs and fees.




_______________
 August 31, 2018                                   _________________________________
                                                   /s/ Howard F. Sachs
Date                                               UNITED STATES DISTRICT JUDGE




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BY CONSENT:



EQUAL EMPLOYMENT                         KESSINGER/HUNTER
OPPORTUNITY COMMISSION                   MANAGEMENT, INC.

_________________________________        _________________________________
ANDREA G. BARAN                          PRESIDENT
Regional Attorney
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                                                                                     EXHIBIT 1


                              RELEASE BY RICHARD SHIPE

In consideration for the gross sum of Fifty Thousand Dollars ($50,000.00), paid to me by

Defendant, KHMI, Inc., in connection with the resolution of EEOC v. Kessinger Hunter

Management Company, I waive my right to recover for any claims of discrimination and/or

harassment under the Americans with Disabilities Act, as amended, that I had against KHMI,

Inc. prior to the date of this release and that were included in the EEOC’s complaint in EEOC v.

Kessinger Hunter Management Company, 4:17-cv-809- HFS.



Shipe acknowledges that he is not a Medicaid/Medicare recipient and none of the amounts paid

hereunder are subject to Medicaid/Medicare subrogation. To the extent that Shipe’s

representations related to his Medicaid/Medicare status are inaccurate or misleading, Shipe

agrees to indemnify and hold harmless KHMI and its agents, representatives, officers,

supervisors, managers, directors, attorneys, and insurers from any and all claims, demands, liens,

subrogated interests and causes of action of any nature or character that have been or may in the

future be asserted by Medicaid/Medicare and/or persons or entities acting on behalf of

Medicaid/Medicare.




Date: _______________
                                                            _______________________
                                                            Signature




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                                                                                 EXHIBIT 2

                  U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                 Kansas City Area Office


                              NOTICE TO EMPLOYEES

Federal law says that your employer, including a supervisor,
manager or coworker, cannot treat you differently on the
basis of your:
                            race
                  national origin color
                          religion
                             sex
                         disability
                             or
                   age (forty and over)
                It is also illegal to treat someone who applies for a job differently
                                    because of one of these reasons.

 Kessinger/Hunter Management, Inc. supports and will comply with such Federal laws in
  all respects and will not take any action against employees because they have exercised
                                  their rights under the law.

For individuals with limitations because of disability, KHMI will:
        Provide reasonable accommodations to employees’ known limitations
        Talk to the employee and discuss options for a reasonable accommodation
          and make every effort to provide reasonable accommodations to an employee’s
          limitations, including accommodating essential functions of the job

    Applicants and employees may report instances of discrimination to Dayna Deck,
                     Equal Employment Opportunity Commission,
            400 State Ave., Suite 905, Kansas City, KS 66101 (913-551-5848).
 For more information about discrimination and how to file a report with the EEOC go to
                                      www.eeoc.gov.

 ______________________             ______________________________________________
          Date                                                 Name [Signed by CEO]




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